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Case: 1117-cv-06387 Document #: 5 l:iled: 09/06/17 Page 1 o 17

IN THE UNITED STATES DISTRICT COURT F()R THE
NORTHERN DISTR!CT OF ILLIN()lS

)
David A. Rivera ) Case No: l7 C 6387
l
v. l
) Judge Samuel Der-Yeghiayan
l
Ofiicer l, et al. )
ORDER

l)laintiff David A. Rivera’s (Rivera) motion t`or leave to proceed informal patz,/perz's [3]
and motion for attorney assistance [4] are denied. Rivera is given until Septernber 27,_ 2017, to
either pay the filing fee or tile an accurately and properly completed informal pauperis
application i`orm. Rivera is warned that if he fails to pay thc filing fee or tile an accurately and
properly completed informal pauperis application form by September 27, 20l 7, this case will bc
dismissed

STATEMENT

This matter is before the court on Plaintiff David A. Rivera’s (Rivera) motion for leave to
proceed informal pauperis and motion for attorney assistance Rivera indicates on his informal
pauperis application form that he has not received more than 3200 from any source in the last
twelve months However, a review ot`Rivera’s prison trust account statement shows average
monthly deposits oi` 3301 in the last six months. which totals much more than 3200. Rivera has
thus failed to provide accurate information confronting his financial status and the motion for
leave to proceed informal pauperis is denied Rivera is given until September 27, 20l 7, to either
pay the filing fee or tile an accurately and properly completed informal pauperis application
t"orm. Rivera is warned that if he fails to pay the filing fee or tile an accurately and properly
completed informal pazz./;;>er'z`$ application form by September 27, 20l7, this case xvill be
dismissed

Rivera also requests the assistance oi` counsel in accordance with Rary v. We,xjforai Hea/rh
Sources, I)ic., 2013 WL 452769 (7th Cir. 20l3)_; see olso, e.g., Marllazrd v. U.S. Disr. Coztrtfor
S()ulh€r'n Dz`st. of]r)ll'a_. 490 U.S, 296 (l989); Pr‘ut`lt v. Mole, 503 F.Bd 647, 653»54 (7th Cir.
2007). An indigent civil litigant does not have a right to the assistance of counsel Forbe.s t-’.
Edgar, l 12 F.Bd 262, 264 (7th Cir. l997). l»lowever, a court, in its discretion, can request that
counsel voluntarily assist indigents in a civil action pursuant to 28 U.S.C. § l9l S(e)( l ). ln
determining whether to request the voluntary assistance of counsel for a civil litigant_._ a court
must consider the following iactors: "(l) has the indigent plaintiff made a reasonable attempt to
obtain counsel or been effectively precluded from doing so; and if so, (2) given the difficulty of

 

 

 

 

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the case, does the plaintiff appear competent to litigate it himself?" Pruiit v. Mc)te, 503 F.Ed 647,
654, 66l (7th Cir. 2007). ln considering the competency factor, the court must determine
‘whether the difficulty of the case~ factually and legally*exceeds the particular plaintiff s
capacity as a layperson to coherently present it to the judge or jury himsell`.`7 ]d. at 655 (stating
that "[t]he question is not whether a lawyer would present the case more effectively than the pro
se plaintiff; `if that were the test, district judges would be required to request counsel for every
indigent litigant"")(quoting Jolmsr)n v. Doughly, 433 F.3d lOOl, 1006 (7th Cir. 2006)). ln
assessing competency, the court must consider "whether the plaintiff appears competent to
litigate his own claims, given their degree of difficulty, and this includes the tasks that normally
attend litigation: evidence gathering, preparing and responding to motions and other court filings
and trial." ]a’. (emphasis omitted). ln ruling on a motion for attorney assistance the court should
take into consideration "the plaintiffs literacy, communication skills, educational level, and
litigation cxperi:;ice" and evaluate "evidence in the record bearing on the plaintiff s intellectual
capacity and psychological history.” including "any information submitted in support of the
request for counsel, as well as the pleadings, communications frorn, and any contact with the
plaintiff."' ]d, tstating that "in some cases~perhaps many cases-the record may be sparse,"` and
that “It]he inquiry into the plaintiffs capacity to handle his own case is a practical one` made in
light of whatever relevant evidence is available on the question").

ln the instant action, Rivera has not shown that this case is overly complex or difficult,
factually or legally. The court has considered the entire record in this case at this juncturej as it
reflects on Rivera’s ability to coherently present his case as a layperson and his ability to perform
the tasks that normally attend litigation 'l`he court concludes that, based upon the record before
the court, Rivera is competent to present his case at this juncture without the assistance of
counsel. Theret`ore,,,,the,,rnotion,for,attorney,assistanceis,denied. , ,1,

Date: 9/6/17 \ M §M,.%; ¢ §
Samuel Der-Yeghiayan

United States District Court Judge

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l.N THE UNITED STATES DISTRICT COURT `l*`OR THF.
NORTHERN DISTRICT OF Il,I,IN()lS

David A. Rivera (`,Iase No: 17 C 6387

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On Scptcmber 6, 20l 7, the court gave Plaintiff David A. Rivera (Rivera) until Septcrnbcr
2017, to either pay tl'ie filing lee or lite an accurately and properly completed ifr/orient
pauperis application forin. Rivera was warned that if he failed to pay the filing fee or file an
accurately and properly completed inferach pauperis application form by Septernber 27, 2017,
this case would be dismissed The deadline has passed and the docket does not reliect that
Rivera has paid the tiling fee or filed an accurately and properly completed irvj?)r)zm ;;)mrper.is
application forrn. Theret`ore, the instant action is dismissed Civil ease terminated

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Samuel l)er- Yeghiayan v
United States District Court Judge

 

 

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David A. Rivera
B-45533:
Moline_EMO
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